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                IN THE UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF ARKANSAS
                        FAYETTEVILLE DIVISION



CRIMINAL NO. 11-50115-001               USA v. FRANCISCO VELASQUEZ

COURT PERSONNEL:                        APPEARANCES:

Judge: JIMM LARRY HENDREN               Govt. CLAY FOWLKES

Clerk: GAIL GARNER                      Deft. BILLY BOB WEBB

Reporter: THERESA SAWYER


                       SENTENCING MINUTE SHEET


     On this date the above named defendant appeared in person and
with counsel for sentencing and is sworn.

     (X)    Inquiry made that defendant is not under influence of
            alcohol or drugs and is able to comprehend proceedings.
     (X)   Inquiry made whether defendant is under the care of a
            physician or taking any medication and is able to
            comprehend proceedings.
     (X)    Inquiry made that defendant is satisfied with counsel.
     (X)    Court determined that defendant and counsel have had
            opportunity to read and discuss presentence investigation
            report.
     (X)   Presentence investigation report reviewed in open court.
     (X)    Objections to PSR withdrawn in open court.
     (X)    Court expresses final approval of plea agreement.
     (X)    Government moves for downward departure pursuant to
            5K1.1 - granted by court and 3-level departure awarded.
     (X)    Counsel for defendant afforded opportunity to speak on
            behalf of defendant.
     (X)    Defendant afforded opportunity to make statement and
            present information in mitigation of sentence.
     (X)    Attorney for government afforded opportunity to make
            statement to court.
     (X)    Court proceeded to impose sentence as follows:

           198 months imprisonment; 3 years supervised release;
           $25,000.00 fine - interest waived.
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Criminal No. 11-50115-001

     (X)   Defendant ordered to comply with standard conditions
           of supervised release.
     (X)   Defendant ordered to comply with the following special
           conditions of supervised release:

           Submit person, residence, place of employment, and
           vehicle to a search conducted by the USPO upon request.

           Submit to inpatient/outpatient substance abuse
           testing/treatment at direction of USPO.

     (X)   Defendant ordered to pay total special assessment of
           $100.00, for count 1, which shall be due immediately.
     (X)   Counts 4 and 5 dismissed on motion by the government.
     (X)   Defendant advised of right to appeal sentence imposed.
     (X)   Defendant advised of right to apply for leave to appeal
           in forma pauperis.
     (X)   Defendant remanded to custody of USMS.




DATE: September 18, 2012                Proceeding began: 10:05 am

                                                      ended: 10:41 am
